                                                     Case 8:18-bk-11116-SC      Doc 283 Filed 03/25/21 Entered 03/25/21 14:25:11                    Desc
                                                                                 Main Document     Page 1 of 2


                                                      1   Todd C. Ringstad (State Bar No. 97345)
                                                          todd@ringstadlaw.com
                                                      2   RINGSTAD & SANDERS LLP
                                                          4343 Von Karman Avenue                                        FILED & ENTERED
                                                      3   Suite 300
                                                          Newport Beach, CA 92660
                                                      4   Telephone: 949-851-7450                                              MAR 25 2021
                                                          Facsimile: 949-851-6926
                                                      5
                                                          General Insolvency Counsel for                                  CLERK U.S. BANKRUPTCY COURT
                                                                                                                          Central District of California
                                                      6   Debtor and Debtor-in-Possession                                 BY bolte      DEPUTY CLERK


                                                      7
                                                                                                          CHANGES MADE BY COURT
                                                      8                               UNITED STATES BANKRUPTCY COURT
                                                      9                CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
                                                     10

                                                     11   In re                                         Case No. 8:18-bk-11116-SC
                                                     12   LUXENT, INC.,                                 Chapter 11 Proceeding
Ringstad & Sanders
                4343 Von K arman Avenue, Suite 300




                                                     13
                     Newport Be ach, CA 92660




                                                                                                        ORDER APPROVING MOTION FOR
                          949.851.7450




                                                     14                                                 ENTRY OF AN ORDER OF DISCHARGE
                               L.L.P.




                                                                         Debtor and                     AND FINAL DECREE CLOSING CASE
                                                     15                  Debtor-in-Possession.
                                                     16                                                 [No Hearing Required Unless Requested –
                                                                                                        Local Bankruptcy Rule 9013-1]
                                                     17

                                                     18           The Court, having read and considered the Motion for Entry of an Order of Discharge and
                                                     19   Final Decree Closing Case (Doc. No. 280) (the “Motion”) filed by the debtor herein, Luxent, Inc.
                                                     20   (“Debtor”), and finding that adequate notice of the Motion has been given, and noting that no
                                                     21   timely opposition to the Motion has been filed, and good cause appearing therefor,
                                                     22           HEREBY ORDERS that:
                                                     23           1.     The Motion is granted;
                                                     24           2.     Pursuant to the Debtor’s First Amended Chapter 11 Plan of Reorganization (Doc.
                                                     25   No. 209) (the “Plan”) and the Court’s Order Confirming Debtor’s First Amended Chapter 11 Plan
                                                     26   of Reorganization (Doc. No. 238) (the “Confirmation Order”), the Debtor is hereby discharged
                                                     27   pursuant to the provisions of 11 U.S.C. 1141(d) from any debt that arose before the date of
                                                     28   confirmation of the Plan.
                                                    Case 8:18-bk-11116-SC       Doc 283 Filed 03/25/21 Entered 03/25/21 14:25:11                Desc
                                                                                 Main Document     Page 2 of 2


                                                     1           3.     This order shall constitute a final decree pursuant to Rule 3022 of the Federal

                                                     2   Rules of Bankruptcy Procedure and this case is hereby closed.

                                                     3                                                  ###

                                                     4

                                                     5

                                                     6

                                                     7

                                                     8

                                                     9

                                                    10

                                                    11

                                                    12
Ringstad & Sanders
                4343 Von Karman Avenue, Suite 300




                                                    13
                     Newport Be ach, CA 92660
                          949.851.7450




                                                    14
                               L.L.P.




                                                    15

                                                    16

                                                    17

                                                    18

                                                    19

                                                    20
                                                    21

                                                    22

                                                    23

                                                    24   Date: March 25, 2021

                                                    25

                                                    26
                                                    27

                                                    28


                                                                                                       -2-
